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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,
Plaintiff,
v.
CRH PLC,
CRH AMERICAS MATERIALS, INC.,
and
POUNDING MILL QUARRY CORPORATION,

Defendants.

 

 

FINAL JUDGMENT

WHEREAS, Plaintiff, United States of America, filed its Complaint on June 22, 2018,
the United States and defendants, CRH plc, CRH Americas Materials, Inc., and Pounding Mill
Quarry Corporation, by their respective attorneys, have consented to the entry of this Final
Judgment Without trial or adjudication of any issue of fact or law, and Without this Final
Judgment constituting any evidence against or admission by any party regarding any issue of fact
or law;

AND WHEREAS, defendants agree to be bound by the provisions of this Final Judgment
pending its approval by the Court;

AND WHEREAS, the essence of this Final Judgment is the prompt and certain

divestiture of certain rights or assets by defendants to assure that competition is not substantially

lessened;

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AND WHEREAS, the United States requires defendants to make certain divestitures for
the purpose of remedying the loss of competition alleged in the Complaint;

AND WHEREAS, defendants have represented to the United States that the divestitures
required below can and will be made and that defendants will later raise no claim of hardship or
difficulty as grounds for asking the Court to modify any of the divestiture provisions contained
below;

NOW THEREFORE, before any testimony is taken, without trial or adjudication of any
issue of fact or law, and upon consent of the parties, it is ORDERED, ADJUDGED AND
DECREED:

I. JURISDICTION

This Court has jurisdiction over the subject matter of and each of the parties to this
action. The Complaint states a claim upon which relief may be granted against defendants under
Section 7 of the Clayton Act, 15 U.S.C. § 18, as amended

II. DEFINITIONS

As used in this Final Judgment:

A. “Acquirer” means Salem Stone or another entity to which defendants divest the
Divestiture Assets.

B. “CRH” means defendant CRH plc, an Irish public limited company with its
headquarters in Dublin, Ireland, its successors and assigns, and its subsidiaries, divisions, groups,

affiliates, partnerships and joint ventures, and their directors, officers, managers, agents, and

employees.

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C. “CRH Americas” means defendant CRH Americas Materials, Inc., a Delaware
corporation with its principal place of business in Atlanta, Georgia, its successors and assigns,
and its subsidiaries, divisions, groups, affiliates, partnerships and joint ventures, and their
directors, officers, managers, agents, and employees

D. “Pounding Mill” means defendant Pounding Mill Quarry Corporation, a Virginia
corporation with its headquarters in Bluefield, Virginia, its successors and assigns, and its
subsidiaries, divis'ions, groups, affiliates, partnerships and joint ventures, and their directors,
officers, managers, agents, and employees

E. “Salem Stone” means Salem Stone Corporation, a Virginia corporation with its
headquarters in Dublin, Virginia, its successors and assigns, and its subsidiaries, divisions,
groups, affiliates, partnerships and joint ventures, and their directors, officers, managers, agents,
and employees

F. “Closing” means the closing of the transaction between CRH Americas and
Pounding Mill pursuant to which CRH Americas acquires the assets of Pounding Mill.

G. “Divestiture Assets” means all assets associated with or utilized by Pounding
Mill’s Rocky Gap quarry, including, but not limited to:

l. All real property, including:
(a) All real property that is subject to the deed of record dated
December 14, 1991, and registered in Bland County, Virginia in
Deed Book 134, Page 138, less and except the right of way of the
Norfolk and Western Railway as described in the deed recorded in

Deed Book 20, Page 586; and those properties described in deeds

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recorded in Deed Book 21, Page 77; Deed Book 31, Page 478;
Deed Book 32, Page 388; and Deed Book 53, Page 220;

(b) All real property that is subject to the deed of record dated July 8,
1989, and registered in Bland County, Virginia in Deed Book 99,
Page 626, except the property described in the deed recorded in
Deed Book 34, Page 295; and

(c) All real property that is subject to the deed of record dated
February 8, 2017, and registered in Bland County, Virginia under
Instrument Number 170000077, except those properties described
in deeds recorded in Deed Book 53, Page 334; Deed Book 53,
Page 360; Deed Book 57, Page 138; Deed Book 59, Page 96; Deed
Book 59, Page 98; Deed Book 61, Page 397; Deed Book 62, Page
171; Deed Book 60, Page 653; and Deed Book 62, Page 168.

2. All tangible assets that have been primarily used at or in connection with
the Rocky Gap quarry at any time since July 31, 2016, including, but not limited to: all
equipment, vehicles, and buildings; tooling and fixed assets, personal property, inventory, office
furniture, materials, and supplies; geologic maps, core drillings, and core samples; aggregate
reserve testing information, results, and analyses; research and development activities; licenses,
permits, and authorizations issued by any governmental organization; all contracts, teaming
arrangements, agreements, leases, commitments certifications, and understandings, including,
but not limited to, all contracts that have been fulfilled in part or in whole with aggregate

produced at the Rocky Gap quany; customer lists, accounts, and credit records; repair and

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performance records, records relating to testing or approvals by the West Virginia Department of
Transportation or Virginia Department of Transportation, and all other records;

3. All intangible assets that have been primarily used at or in connection with
the Rocky Gap quarry at any time since July 31, 2016, including, but not limited to, all patents,
licenses, sublicenses, intellectual property, copyrights, trademarks, trade names, service marks,
service names, technical information, computer software and related documentation, know-how,
trade secrets, drawings, blueprints, designs, design protocols, specifications for materials,
specifications for parts and devices, safety procedures, research data concerning historic and
current research and development, quality assurance and control procedures, design tools and
simulation capability, and manuals and technical information defendants provide to their own
employees, customers, suppliers, agents, or licensees

fII. APPLICABILITY

A. This Final Judgment applies to CRH, CRH Americas, and Pounding Mill, as
defined above, and all other persons in active concert or participation with any of them who
receive actual notice of this Final Judgment by personal service or otherwise.

B. If, prior to complying with Section IV and V of this Final Judgment, defendants
sell or otherwise dispose of all or substantially all of their assets or of lesser business units that
include the Divestiture Assets, they shall require the purchaser to be bound by the provisions of
this Final Judgment. Defendants need not obtain such an agreement from the Acquirer of the

assets divested pursuant to this Final Judgment.

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IV. DlVESTITURE

A. CRH and CRH Americas are ordered and directed, within ten (10) business days
after the Court signs the Hold Separate Stipulation and Order in this matter to divest the
Divestiture Assets in a manner consistent with this Final Judgment to an Acquirer acceptable to
the United States, in its sole discretion. The United States, in its sole discretion, may agree to
one or more extensions of this time period not to exceed sixty (60) calendar days in total, and
shall notify the Court in such circumstances Defendants agree to use their best efforts to divest
the Divestiture Assets as expeditiously as possible

B. In accomplishing the divestiture ordered by this Final Judgment, defendants shall
offer to Himish to the Acquirer, subject to customary confidentiality assurances, all information
and documents relating to the Divestiture Assets customarily provided in a due diligence process
except such information or documents subject to the attorney-client privilege or work-product
doctrine. Defendants shall make available such information to the United States at the same time
that Such information is made available to any other person.

C. At the option of the Acquirer, defendants shall provide the Acquirer and the
United States information relating to the personnel involved in the production and sale of
aggregate and asphalt concrete at defendants’ locations in: (1) the following counties in West
Virginia: Boone, Clay, Fayette, Greenbrier, Logan, McDowell, Mercer, Mingo, Monroe,
Nicholas, Raleigh, Summers, and Wyoming; and (2) the following counties in Virginia: Bland,
Buchanan, Giles, Russell, and Tazewell, to enable the Acquirer to make offers of employment
Defendants shall not interfere with any negotiations by the Acquirer to employ any employee of

CRH, CRH Americas, or Pounding Mill at any of the defendants’ operations located in the

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counties listed in this paragraph Defendants shall waive all non-compete agreements for any
employee who elects employment with the Acquirer.

D. Prior to Closing Pounding Mill shall, and after Closing CRH and CRH Americas
shall, permit prospective Acquirers of the Divestiture Assets to have reasonable access to
personnel and to make inspections of the physical facilities of the Rocky Gap quarry; access to
any and all environmental, zoning, and other permit documents and information; access to any
aggregate reserve estimates and geological studies; and access to any and all financial,
operational, or other documents and information customarily provided as part of a due diligence
process

E. Pounding Mill shall ensure that each asset is operational on the date of Closing
and that there are no material defects in the environmental, zoning, or other permits pertaining to
the operation of each asset as of the date of Closing.

F. CRH and CRH Americas shall warrant to the Acquirer that each asset will be
operational on the date of sale of the Divestiture Assets and that there are no material defects in
the environmental, Zoning, or other permits pertaining to the operation of each asset on the date
of sale of the Divestiture Assets

G. Defendants shall not take any action that will impede in any way the permitting,

, operation, or divestiture of the Divestiture Assets.

H. n Defendants shall not undertake, directly or indirectly, any challenges to the
environmental, zoning, or other permits relating to the operation of the Divestiture Assets

I. Unless the United States otherwise consents in writing, the divestiture, whether

pursuant to Section IV or V of this Final Judgment, shall include the entire Divestiture Assets,

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and shall be accomplished in such a way as to satisfy the United States, in its sole discretion, that
the Divestiture Assets can and will be used by the Acquirer as part of a viable, ongoing business
involved in the production and sale of aggregate The divestiture, whether pursuant to Section

IV or V of this Final Judgment,

(1) shall be made to an Acquirer that, in the United States’ sole judgment, has
the intent and capability (including the necessary managerial, operational,
technical and financial capability) of competing effectively in the
production and sale of aggregate; and

(2) shall be accomplished so as to satisfy the United States, in its sole
discretion, that none of the terms of any agreement between the Acquirer
and CRH give CRH the ability unreasonably to raise the Acquirer’s costs,
to lower the Acquirer’s efficiency, or otherwise to interfere in the ability of
the Acquirer to compete effectively.

J. Within ten (10) calendar days of the date of sale of the Divestiture Assets to the
Acquirer, CRH shall provide a notification of the divestiture to all customers that purchased: (1)
500 tons or more of aggregate per project from CRH Americas’ Alta quarry, CRH Americas’
Beckley quarry, or any Pounding Mill quarry since January 1, 2016; or (2) 2,000 tons of
aggregate or more per project from CRH Americas’ Alta quarry, CRH Americas’ Beckley
quarry, or any Pounding Mill quarry since January ], 2014. The notification must be in a form
approved by the United States, in its sole discretion, and shall state that the Divestiture Assets are
now owned by the Acquirer, are not affiliated with CRH, CRH Americas, or Pounding Mill, and
shall include with such notice a copy of this proposed Final Judgment. CRH shall provide the

United States with a copy of its draft notice no fewer than five (5) calendar days before it is sent

to customers

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V. APPOINTMENT OF DIVESTITURE TRUSTEE

A. If CRH and CRH Americas have not divested the Divestiture Assets within the
time period specified in Paragraph IV(A), they shall notify the United States of that fact in
writing. Upon application of the United States, the Court shall appoint a Divestiture Trustee
selected by the United States and approved by the Court to effect the divestiture of the
Divestiture Assets

B. After the appointment of a Divestiture Trustee becomes effective, only the
Divestiture Trustee shall have the right to sell the Divestiture Assets The Divestiture Trustee
shall have the power and authority to accomplish the divestiture to an Acquirer acceptable to the
United States at such price and on such terms as are then obtainable upon reasonable effort by
the Divestiture Trustee, subject to the provisions of Sections IV, V, and VI of this Final
Judgment, and shall have such other powers as this Court deems appropriate Subject to
Paragraph V(D) of this Final Judgment, the Divestiture Trustee may hire at the cost and expense
of CRH and CRH Americas any investment bankers, attomeys, or other agents, who shall be
sole-ly accountable to the Divestiture Trustee, reasonably necessary in the Divestiture Trustee’s
judgment to assist in the divestiture Any such investment bankers, attomeys, or other agents
shall serve on such terms and conditions as the United States approves including confidentiality
requirements and conflict of interest certifications

C. Defendants shall not object to a sale by the Divestiture Trustee on any ground
other than the Divestiture Trustee’s malfeasance Any such objections by defendants must be
conveyed in writing to the United States and the Divestiture Trustee within ten (10) calendar

days after the Divestiture Trustee has provided the notice required under Section VI.

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D. The Divestiture Trustee shall serve at the cost and expense of CRH and CRH
Americas pursuant to a Written agreement, on such terms and conditions as the United States
approves including confidentiality requirements and conflict of interest certifications The
Divestiture Trustee shall account for all monies derived from the sale of the assets sold by the
Divestiture Trustee and all costs and expenses so incurred After approval by the Court of the
Divestiture Trustee’s accounting, including fees for its services yet unpaid and those of any
professionals and agents retained by the Divestiture Trustee, all remaining money shall be paid
to CRH and CRH Americas and the trust shall then be terminated The compensation of the
Divestiture Trustee and any professionals and agents retained by the Divestiture Trustee shall be
reasonable in light of the value of the Divestiture Assets and based on a fee arrangement
providing the Divestiture Trustee with an incentive based on the price and terms of the
divestiture and the speed with which it is accomplished, but timeliness is paramount. If the
Divestiture Trustee and CRH and CRH Americas are unable to reach agreement on the
Divestiture Trustee’s or any agents’ or consultants’ compensation or other terms and conditions
of engagement within fourteen (14) calendar days of appointment of the Divestiture Trustee, the
United States may, in its sole discretion, take appropriate action, including making a
recommendation to the Court. The Divestiture Trustee shall, within three (3) business days of
hiring any other professionals or agents, provide written notice of such hiring and the rate of
compensation to CRH, CRH Americas and the United States

E. Defendants shall use their best efforts to assist the Divestiture Trustee in
accomplishing the required divestiture The Divestiture Trustee and any consultants,

accountants, attomeys, and other agents retained by the Divestiture Trustee shall have full and

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complete access to the personnel, books records and facilities of the business to be divested,
and defendants shall develop financial and other information relevant to such business as the
Divestiture Trustee may reasonably request, subject to reasonable protection for trade secret or
other confidential research, development, or commercial information or any applicable
privileges Defendants shall take no action to interfere with or to impede the Divestiture
Trustee’s accomplishment of the divestiture

F. After its appointment, the Divestiture Trustee shall file monthly reports with the
United States and, as appropriate, the Court setting forth the Divestiture Trustee’s efforts to
accomplish the divestiture ordered under this Final Judgment. To the extent such reports contain
information that the Divestiture Trustee deems confidential, such reports shall not be filed in the
public docket of the Court. Such reports shall include the name, address and telephone number
of each person who, during the preceding month, made an offer to acquire, expressed an interest
in acquiring, entered into negotiations to acquire, or Was contacted or made an inquiry about
acquiring, any interest in the Divestiture Assets and shall describe in detail each contact with
any such person. The Divestiture Trustee shall maintain full records of all efforts made to divest
the Divestiture Assets

G. If the Divestiture Trustee has not accomplished the divestiture ordered under this
Final Judgment within six months after its appointment, the Divestiture Trustee shall promptly
file with the Court a report setting forth: (1) the Divestiture Trustee’s efforts to accomplish the
required divestiture; (2) the reasons in the Divestiture Trustee’s judgment, why the required
divestiture has not been accomplished, and (3) the Divestiture Trustee’s recommendations To

the extent such report contains information that the Divestiture Trustee deems confidential, such

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report shall not be filed in the public docket of the Court. The Divestiture Trustee shall at the
same time furnish such report to the United States which shall have the right to make additional
recommendations consistent with the purpose of the trust. The Court thereafter shall enter such
orders as it shall deem appropriate to carry out the purpose of the Final Judgment, which may, if
necessary, include extending the trust and the term of the Divestiture Trustee’s appointment by a
period requested by the United States

H. If the United States determines that the Divestiture Trustee has ceased to act or-
failed to act diligently or in a reasonably cost-effective manner, it may recommend the Court
appoint a substitute Divestiture Trustee

VI. NOTICE OF PROPOSED DIVESTITURE

A. Within two (2) business days following execution of a definitive divestiture
agreement, CRH and CRH Americas or the Divestiture Trustee, whichever is then responsible
for effecting the divestiture required herein, shall notify the United States of any proposed
divestiture required by Section IV or V of this Final Judgment. If the Divestiture Trustee is
responsible, it shall similarly notify defendants The notice shall set forth the details of the
proposed divestiture and list the name, address and telephone number of each person not
previously identified Who offered or expressed an interest in or desire to acquire any ownership
interest in the Divestiture Assets together with full details of the same

B. Within fifteen (15) calendar days of receipt by the United States of such notice,
the United States may request from defendants the proposed Acquirer, any other third party, or
the Divestiture Trustee, if applicable, additional information concerning the proposed divestiture,

the proposed Acquirer, and any other potential Acquirer. Defendants and the Divestiture Trustee

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shall furnish any additional information requested within fifteen (15) calendar days of the receipt
of the request, unless the parties shall otherwise agree

C. Within thirty (30) calendar days after receipt of the notice or within twenty (20)
calendar days after the United States has been provided the additional information requested
from defendants the proposed Acquirer, any third party, and the Divestiture Trustee, whichever
is later, the United States shall provide written notice to CRH and CRH Americas and the
Divestiture Trustee, if there is one, stating whether or not it objects to the proposed divestiture
If the United States provides written notice that it does not obj ect, the divestiture may be
consummated, subject only to defendants’ limited right to object to the sale under Paragraph
V(C) of this Final Judgment. Absent written notice that the United States does not object to the
proposed Acquirer or upon objection by the United States, a divestiture proposed under Section
IV or V shall not be consummated Upon objection by defendants under Paragraph V(C), a
divestiture proposed under Section V shall not be consummated unless approved by the Court.

VII. FINANCING

Defendants shall not finance all or any part of any purchase made pursuant to Section IV

or V of this Final Judgment.
VIII. HOLD SEPARATE

Until the divestiture required by this Final Judgment has been accomplished, CRH and
CRH Americas shall take all steps necessary to comply with the Hold Separate Stipulation and
Order entered by this Court. Prior to the Closing, Pounding Mill shall take all steps necessary to
comply with the Hold Separate Stipulation and Order entered by this Court. Defendants shall

take no action that would jeopardize the divestiture ordered by this Court.

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IX. AFFIDAVITS

A. Within twenty (20) calendar days of the filing of the Complaint in this matter, and
every thirty (30) calendar days thereafter until the divestiture has been completed under Section
IV or V, defendants shall deliver to the United States an affidavit signed by each defendant’s
Chief Financial Officer and General Counsel, which shall describe the fact and manner of
defendants’ compliance with Section IV or V of this Final Judgment. Each such affidavit shall
include the name, address and telephone number of each person who, during the preceding thirty
(3 0) calendar days, made an offer to acquire, expressed an interest in acquiring, entered into
negotiations to acquire, or Was contacted or made an inquiry about acquiring, any interest in the
Divestiture Assets and shall describe in detail each contact with any such person during that
period Each such affidavit shall also include a description of the efforts defendants have taken
to solicit buyers for the Divestiture Assets, and to provide required information to prospective
Acquirers including the limitations if any, on such information Assuming the information set
forth in the affidavit is true and complete, any objection by the United States to information
provided by defendants including limitation on information, shall be made within fourteen (14)
calendar days of receipt of such affidavit

B. Within twenty (20) calendar days of the filing of the Complaint in this matter,
defendants shall deliver to the United States an affidavit that describes in reasonable detail all
actions defendants have taken and all steps defendants have implemented on an ongoing basis to
comply with Section VIII of this Final Judgment. Defendants shall deliver to the United States

an affidavit describing any changes to the efforts and actions outlined in dcfendants’ earlier

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affidavits filed pursuant to this section within fifteen (15) calendar days after the change is
implemented

C. Defendants shall keep all records of all efforts made to preserve and divest the
Divestiture Assets until one year after such divestiture has been completed

X. COMPLIANCE INSPECTION

A. For the purposes of determining or securing compliance with this Final Judgment,
or of any related orders such as any Hold Separate Stipulation and Order, or of determining
whether the Final Judgment should be modified or vacated, and subject to any legally recognized
privilege, from time to time authorized representatives of the United States Department of
Justice, Antitrust Division, including consultants and other persons retained by the United States
shall, upon written request of an authorized representative of the Assistant Attorney General in
charge of the Antitrust Division, and on reasonable notice to defendants be permitted:

(1) access during defendants’ office hours to inspect and copy, or at the option
of the United States, to require defendants to provide hard copy or
electronic copies of, all books ledgers accounts records data, and
documents in the possession, custody, or control of defendants relating to
any matters contained in this Final Judgment; and

(2) to interview, either informally or on the record, defendants’ officers
employees or agents, who may have their individual counsel present,
regarding such matters The interviews shall be subject to the reasonable
convenience of the interviewee and without restraint or interference by

defendants

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B. Upon the written request of an authorized representative of the Assistant Attomey
General in charge of the Antitrust Division, defendants shall submit written reports or response
to written interrogatories under oath if requested, relating to any of the matters contained in this
Final Judgment as may be requested

C. No information or documents obtained by the means provided in this section shall
be divulged by the United States to any person other than an authorized representative of the
executive branch of the United States except in the course of legal proceedings to which the
United States is a party (including grand jury proceedings), or for the purpose of securing
compliance with this Final Judgment, or as otherwise required by law.

D. If at the time information or documents are furnished by defendants to the United
States defendants represent and identify in writing the material in any such information or
documents to which a claim of protection may be asserted under Rule 26(c)(1)(G) of the Federal
Rules of Civil Procedure, and defendants mark each pertinent page of such material, “Subject to
claim of protection under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure,” then the
United States shall give defendants ten (10) calendar days’ notice prior to divulging such
material in any legal proceeding (other than a grand jury proceeding).

XI. NOTIFICATION

Unless such transaction is otherwise subject to the reporting and waiting period
requirements of the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended, 15
U.S.C. § 18a (the “HSR Act”), CRH and CRH Americas without providing advance notification
to the United States Department of Justice, Antitrust Division, shall not directly or indirectly

acquire any assets of or any interest, including any financial, security, loan, equity or

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management interest, in any businesses involved in the production and/or sale of aggregate
and/or asphalt concrete in the counties listed in Paragraph IV(C) during the term of this Final
Judgment,

Such notification shall be provided to the United States Department of Justice, Antitrust
Division in the same format as and per the instructions relating to the Notification and Report
Form set forth in the Appendix to Part 803 of Title 16 of the Code of Federal Regulations as
amended, except that the information requested in Items 5 through 8 of the instructions must be
provided only for aggregate and/or asphalt concrete Notification shall be provided at least thirty
(3 0) calendar days prior to acquiring any such interest, and shall include, beyond what may be
required by the applicable instructions the names of the principal representatives of the parties to
the agreement who negotiated the agreement, and any management or strategic plans discussing
the proposed transaction If within the 30-day period after notification, representatives of the
United States Department of Justice, Antitrust Division make a written request for additional
information, defendants shall not consummate the proposed transaction or agreement until thirty
calendar days after submitting all such additional information Early termination of the waiting
periods in this paragraph may be requested and, where appropriate, granted in the same manner
as is applicable under the requirements and provisions of the HSR Act and rules promulgated
thereunder. This Section shall be broadly construed and any ambiguity or uncertainty regarding
the filing of notice under this Section shall be resolved in favor of filing notice

XII. NO REACQUISI.TION

Defendants may not reacquire any part of the Divestiture Assets during the term of this

Final Judgment,

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XIII. RETENTION OF JURISDICTION

This Court retains jurisdiction to enable any party to this Final Judgment to apply to this
Court at any time for further orders and directions as may be necessary or appropriate to carry
out or construe this Final Judgment, to modify any of its provisions to enforce compliance, and
to punish violations of its provisions

XIV. ENFORCEMENT OF FINAL JUDGMENT

A. The United States retains and reserves all rights to enforce the provisions of this
Final Judgment, including its right to seek an order of contempt from this Court. Defendants
agree that in any civil contempt action, any motion to show cause, or any similar action brought
by the United States regarding an alleged violation of this Final Judgment, the United States may
establish a violation of the decree and the appropriateness of any remedy therefor by a
preponderance of the evidence, and they waive any argument that a different standard of proof
should apply.

B. The Final Judgment should be interpreted to give full effect to the procompetitive
purposes of the antitrust laws and to restore all competition harmed by the challenged conduct.
Defendants agree that they may be held in contempt of, and that the Court may enforce, any
provision of this Final Judgment that, as interpreted by the Court in light of these procompetitive
principles and applying ordinary tools of interpretation, is stated specifically and in reasonable
detail, whether or not it is clear and unambiguous on its face In any such interpretation, the

terms of this Final Judgment should not be construed against either party as the drafter.

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C. In any enforcement proceeding in which the Court finds that defendants have
violated this Final Judgment, the United States may apply to the Court for a one-time extension
of this Final Judgment, together with such other relief as may be appropriate ln connection with
any successful effort by the United States to enforce this Final Judgement against a defendant,
whether litigated or resolved prior to litigation, that defendant agrees to reimburse the United
States for any attorneys’ fees experts’ fees and costs incurred in connection with that
enforcement effort, including the investigation of the potential violation

XV. EXPIRATION OF FINAL JUDGMENT

Unless this Court grants an extension, this Final Judgment shall expire ten years from the
date of its entry, except that after five (5) years from the date of its entry, this Final Judgment
may be terminated upon notice by the United States to the Court and defendants that the
divestiture has been completed and that the continuation of the Final Judgment no longer is
necessary or in the public interest.

XVI. PUBLIC INTEREST DETERMINATION

Entry of this Final Judgment is in the public interest. The parties have complied with the
requirements of the Antitrust Procedures and Penalties Act, 15 U.S.C. § 16, including making
copies available to the public of this Final Judgment, the Compet-itive lmpact Statement, and any
comments thereon and the United States’ responses to comments Based upon the record before
the Court, which includes the Competitive lmpact Statement and any comments and response to

comments filed with the Court, entry of this Final Judgment is in the public interest,

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Date: n 33

Court approval is subject to procedures of the Antitrust Procedures and Penalties Act, 15 U.S.C.

§16.

 

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